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                         IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DEMARIUS ROBERTS, Individually and on                                               PLAINTIFFS
Behalf of All Others Similarly Situated

v.                                Case No. 4:19-cv-00812-KGB

RREAF HOLDINGS, LLC, and                                                          DEFENDANTS
PLACE 10 RESIDENTIAL PM, LLC

                                              ORDER

       Before the Court is Demarius Roberts, individually an on behalf of all others similarly

situated, RREAF Holdings LLC, and Place 10 Residential PM, LLC’s joint motion to stay all

deadlines (Dkt. No. 28). The case is currently scheduled for a bench trial sometime during the

week of February 16, 2021 (Dkt. No. 23). The parties state that they have reached an agreement

to resolve the pending claims on terms that are fair, reasonable, and adequate, and the parties

represent that the settlement will resolve all disputes and claims presented in this litigation (Dkt.

No. 28, ¶ 2). The parties estimate that they will present the Court with a final motion seeking

approval of the parties’ resolution and dismissal of claims within the next 75 to 90 days (Id., ¶ 3).

The parties state that in order to avoid potentially unnecessary costs, the parties wish to stay all

pretrial deadlines and continue the present trial setting pending final dismissal of the parties’

claims (Id., ¶ 4). The parties state that this motion is filed in good faith and not made for purposes

of unreasonable delay (Id.).

       For good cause shown, the Court grants the parties’ joint motion to stay (Dkt. No. 28).

This case is removed from the trial docket for the week of February 16, 2021, and the trial date, as

well as pretrial deadlines will, if necessary, be reset in an amended scheduling order. The parties
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are directed to file a status update 90 days from the date of this Order if the Court has not entered

an Order of final dismissal on or before that date.

       It is so ordered, this the 20th day of October, 2020.



                                                      _________________________________
                                                      Kristine G. Baker
                                                      United States District Court Judge




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